Case 2:05-CV-0234O-SHI\/|-tmp Document 6 Filed 08/31/05 Page 1 of 2 Page|D 3

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

'V'ARSITY BRANDS, INC . , et al . ,

Plaintiff,
v. Cv. No.
TEAMLEADER. COM, et al . ,

Defendants.

~J'UDGMENT

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05-2340-Ma

Decision by Court. This action came for consideration before
the Court. The issues have been duly considered and a decision has

been rendered.

IT IS ORDERED AND ADJUDGED that this action is dismissed With
prejudice, in accordance with the Order of Dismissal, docketed

AuguSt 23, 2005.

APPROVEP (//C_

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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Honorable Samuel Mays
US DISTRICT COURT

